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 2
 3
                          UNITED STATES DISTRICT COURT
 4
                        EASTERN DISTRICT OF WASHINGTON
 5
 6 UNITED STATES OF AMERICA,                        No. 2:15-CR-133-SMJ-3
 7
                Plaintiff,                          ORDER GRANTING
 8
   vs.                                              DEFENDANT’S MOTION
 9                                                  TO RECONSIDER
10 CARLOS MANUEL FLEITAS,                           ☒      Motion Granted
11                      Defendant.                         (ECF No. 95)
12
           At the June 7, 2016, hearing on Defendant’s Motion to Modify the
13
     Conditions of Release set by Judge Imbrogno on May 26, 2016, ECF No. 95,
14
     Defendant was present with counsel, Steven P. Frampton. Assistant U.S. Attorney
15
     Earl Hicks represented the United States.
16
           The Defendant requested to be allowed to reside in Florida during the
17
     pendency of this case. The United States objected to his request, citing prior
18
     criminal activity, warrant history and the substantial amount of discovery that
19
     Defendant would need to review.
20
           The Court considered the Pretrial Services Report filed May 26, 2016, ECF
21
     No. 86, the conditions of release set by Judge Imbrogno, Defendant’s Motion ECF
22
     95, and statements made by the parties at today’s hearing.
23
           This Court has taken into account the evidence, testimony and information
24
     produced at this hearing concerning the nature and circumstances of the offense
25
     charged, the weight of the evidence against the Defendant, his history and
26
     characteristics, including character, physical and mental condition, family ties,
27
     employment, financial resources, length of residence in the community,
28

     ORDER GRANTING DEFENDANT’S MOTION FOR RECONSIDERATION - 1
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 1   community ties, past conduct, history relating to alcohol and drug abuse, criminal
 2   history, record concerning appearance at court proceedings, and the nature and
 3   seriousness of the danger to the community posed by Defendant's release.
 4         The Court, having considered the proffers of Defendant and Plaintiff, and 18
 5   U.S.C. § 3142, finds there are conditions that will reasonable assure the safety of
 6   the community or other persons, and defendant’s appearance for further
 7   proceedings. Accordingly Defendant’s Motion, ECF No. 95, is GRANTED.
 8         The following conditions in the Order filed May 26, 2016, ECF No. 89, are
 9   modified as follows:
10
11   (11) Defendant is required to reside in the Eastern District of Florida, at an
          address known to and approved by Pretrial Services
12
13
     (14) Except for court-proceedings in Idaho and court proceedings in Spokane,
14        Washington, Defendant shall remain in the Southern District of Florida
15        while the case is pending. By timely motion clearly stating whether
          opposing counsel and Pretrial Services object to the request, Defendant may
16        be permitted to travel outside this geographical area.
17
     The following additional conditions are imposed:
18
19   (32) Defendant shall remain in the Eastern District of Washington unless and
20        until Pretrial Services in the Southern District of Florida confirms that
          Defendant will be accepted for courtesy supervision in the latter district.
21
           All previous terms and conditions of release not inconsistent with this order
22
     to remain in full force and effect.
23
           IT IS SO ORDERED.
24
           DATED June 7, 2016.
25
26
                                  _____________________________________
27                                          JOHN T. RODGERS
28                                 UNITED STATES MAGISTRATE JUDGE

     ORDER GRANTING DEFENDANT’S MOTION FOR RECONSIDERATION - 2
